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                        UNITED STATES DISTRICT COURT FOR
                            THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                     :
                                              :
         v.                                   : CASE NO. 21-CR-392 (RCL)
                                              :
 RUSSELL TAYLOR,                              :
      Defendant.                              :


                                MOTION FOR REVOCATION OF
                                     RELEASE ORDER

       On January 6, 2021, after organizing and fomenting a group of armed fighters to travel

with weapons to Washington, D.C. to stop Congress’s certification of the 2020 Presidential

Election, defendant Russell Taylor, armed with a knife, joined a mob of rioters to push back a line

of law enforcement officers that stood between Taylor and the Upper West Terrace of the Capitol.

After successfully clashing with these officers and advancing to the Upper West Terrace, Taylor

celebrated with his co-conspirators at the sight of the chaos to which they had contributed. That

evening, in a message to a friend, Taylor predicted that the next step after January 6 would be

“Insurrection!”

       Now that Taylor has been charged for his crimes on January 6, there is no condition or

combination of conditions that can guarantee the safety of the community. Accordingly, the Court

should revoke the Release Order issued by the Magistrate Judge in the Central District of

California in this case and detain Taylor pending trial.




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 I.     FACTS

        A.      Taylor Privately Organizes A Group of Armed Fighters to Travel to D.C. for
                January 6, 2021

       On January 1, 2021, defendant Taylor, using the moniker “Porter RockQwell,” started a

Telegram chat group he called “The California Patriots- DC Brigade” for the specific purpose of

organizing a group of “fighters” to travel to D.C. with weapons for January 6, 2021 to prevent the

peaceful transfer of power that day. In the about section of the group, which ultimately included

more than 30 members, Taylor explained that this Telegram chat would “serve as the Comms for

able bodied individuals that are going to DC on Jan 6.” Acknowledging that “many of us have not

met before,” he wrote that “we are all ready and willing to fight. We will come together for this

moment that we are called upon.”




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Then, in a series of messages over the course of January 1, 2021, Taylor elaborated on his

intentions for the group, calling for a group of “fighters” who would bring “plates” and “weaponry”

to Washington, D.C. for the 6th.




Taylor also posted messages asking that group members identify themselves, whether they had

prior law enforcement experience, any “special skills relevant to our endeavors,” and the date and

time of their arrival in D.C. He further identified a hotel in downtown D.C. as “our main location

for meeting.”

       Starting that day, and through January 6, 2021, members of the DC Brigade answered

Taylor’s call to arms.    Members of the group, including four of Taylor’s co-defendants,

immediately began posting information about their skills, travel plans, and the weapons they

planned to bring to Washington, D.C. In the days between January 1 and January 6, 2021, as a
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number of the DC Brigade members prepared to and started traveling to D.C. with weapons, Taylor

further provided advice to the group on which weapons could, or could not, be lawfully carried

into D.C. In one post concerning the type of knives to bring, Taylor wrote, “I believe that you can

carry most fixed blades just not into the government buildings. Something tells me though if we

are inside government buildings it won’t be on the top of our list.” Taylor also tasked another

group member (co-defendant Derek Kinnison) with organizing a radio channel for the group to

use while on the ground in D.C. On January 4, 2021, Taylor flew to Washington, D.C., where he

met up with co-defendant Hostetter, who had driven cross-country with Taylor’s backpack, which

was full of weapons.

       Significantly, despite the brazenness of these messages and Taylor’s clearly-stated

intentions for the D.C. Brigade Telegram group, there is evidence that Taylor harbored these

extreme intentions since at least the fall of 2020, and that Taylor and his co-conspirators’ planning

and preparation for the events that occurred on January 6, 2021 began in at least late December,

2020. In the fall of 2020, Taylor joined the board of directors of the American Phoenix project, an

organization founded by Hostetter that Hostetter used to advocate for violence against individuals

and groups who supported the 2020 Presidential election results, including in public speeches by

Hostetter in which he called for “execution” as the “just punishment” for those who refused to

overturn the election results.

       Then, starting on December 19, 2020, as alleged in the indictment, Taylor and his co-

conspirators used various means of communication, including social media, text messages, and the

encrypted messaging application Telegram to communicate about their plans to travel to

Washington D.C. for January 6, 2021 and the events they planned to be a part of there, including


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targeting the U.S. Capitol. Defendant Taylor in particular used these communications to organize

others for January 6, 2021 in Washington, D.C. On December 26, 2020, Taylor messaged

defendant Hostetter, writing “I truly believe that we were meant to come together to be engaged

in this war at this time and as I have said before it is an honor to be shoulder to shoulder with you.”

On December 29, 2020, Taylor exchanged messages with defendant Hostetter about bringing

firearms to D.C., and agreed that Hostetter would drive Taylor’s backpack to D.C. That same day,

in response to a question in a Telegram chat with other co-conspirators about when to be at the

Capitol on the morning of January 6, 2021, Taylor posted to the group, “I personally want to be

on the front steps and be one of the first ones to breach the doors!” On December 30, 2020, Taylor

used Instagram to encourage others to join him on January 6 to “meet up with the stop the steal

organization and surround the capital.” Throughout these private messages among his co-

conspirators and friends, Taylor repeatedly made clear his intentions for violence on January 6.

        B.      Washington, D.C.: Taylor Publicly Reiterates A Call for Violence

       On January 5, Taylor took his private exhortations of violence public, calling for violence

in connection with overturning the election outcome in a speech outside the Supreme Court. On

the afternoon of the 5th, as a speaker at a Virginia Women for Trump rally mere steps from the

U.S. Capitol itself, Taylor gave a speech in which he stated:

       I am Russell Taylor and I am a free American. And I stand here in the streets with
       you in defiance of a communist coup that is set to take over America. But we are
       awake and we are never going back to sleep. We are free Americans and in these
       streets, we will fight and we will bleed before we allow our freedom to be taken
       from us. We declare that we will never bend a knee to the Marxists within Antifa,
       to the tyrannical Democrat governors who are puppets, and to the deep state
       commie actors who threaten to destroy America.... But now these anti-Americans
       have made the fatal mistake, and they have brought out the Patriot's fury onto these
       streets and they did so without knowing that we will not return to our peaceful way
       of life until this election is made right, our freedoms are restored, and America is
       preserved.
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Later that evening, Taylor sent a message over an encrypted messaging application, in which he

posted the following photograph with the caption, “Now getting ready for tomorrow.”




This photo shows the tactical vest, knife and gloves, scarf and backpack that Taylor wore at the

Capitol on January 6, 2021. The photo also shows additional weapons, including two hatchets and

a stun baton.

       Meanwhile, the other individuals Taylor had organized through the DC Brigade Telegram

chat continued to arrive in D.C. to carry out Taylor’s stated mission. On January 4, 2021, four of

Taylor’s co-defendants, Derek Kinnison, Erik Warner, Ronald Mele, and Felipe Martinez, also

arrived in Washington, D.C., having driven cross-country without stopping in an SUV loaded with

weapons including firearms, knives, and bear spray, as well as tactical gear. Once on the ground,

Kinnison and others used the DC Brigade chat to communicate across the group, including a post

by Kinnison identifying a radio channel for the group to use to communicate on the ground in D.C.

        C.      Taylor’s Participation in the Riot

       On January 6, 2021, defendant Taylor’s organizing came to fruition. That morning, Taylor

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armed himself with a tactical plate-carrier vest, a knife, and a stun baton in his backpack. After

listening to President Trump’s speech at the Ellipse from outside the secured perimeter due to the

weapons he was carrying, Taylor marched with his co-defendant Hostetter and others to the

Capitol. Once there, Taylor was among an initial group of rioters who clashed with a line of law

enforcement officers on the Lower West Terrace of the Capitol building, ultimately causing those

officers to retreat and the rioters to access a staircase to the Upper West Terrace of the building.

Immediately prior to his involvement in this attack on law enforcement, Taylor filmed a “selfie”

video in which he urged on other rioters who were fighting with officers on a lower level of the

West Terrace, shouting, “Move forward Americans!” Taylor then turned back to the officers a

few feet away from him, ordering, “Last chance boys. Move back!” Immediately after this, Taylor

joined the crowd of rioters pushing against the police line:




After a short time, this group overcame those officers. Despite being hit with pepper spray by
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police in a final effort to repel his advances, Taylor continued past the officers and up a staircase

to the Capitol’s Upper West Terrace, as numerous other rioters moved into the area behind him.

Once on the Upper West Terrace, Taylor, still armed with the knife, and co-defendant Hostetter

took photographs of themselves to celebrate their role in the riot:




       Throughout the riot, Taylor repeatedly acted in open defiance of law enforcement efforts

to maintain order and end the riot.




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       At the same time, Taylor’s efforts to organize others through the DC Brigade came to bear.

During the riot, Taylor’s co-defendants, dressed in tactical gear, all advanced to the Upper West

Terrace of the Capitol, where Taylor met with defendants Kinnison and Martinez. At 2:13 pm,

defendant Warner continued on into the Capitol building itself, entering the building through a

broken window. In the words of defendant Mele in a “selfie” video later found on his cell phone,

“We stormed the Capitol.”

       In the hours following the riot, Taylor defiantly touted what he had done in text messages

to friends and over Telegram. At 6:18 pm, TAYLOR posted to a Telegram chat, “I was pushing

through traitors all day today. WE STORMED THE CAPITOL! Freedom was fully demonstrated

today!” Later that evening, after bragging to friends that he had “stormed the capital,” when a

friend asked him what happens next, Taylor responded, “Insurrection!”

 II.    PROCEDURAL HISTORY

       Shortly after January 6, 2021, the FBI received public tips sent to the FBI tipline for the

U.S. Capitol riot from multiple individual tipsters who identified defendant Taylor as having

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participated in the riot on January 6, 2021. The tips and media included images and videos of the

defendant on Capitol Grounds, including images of Taylor with a knife visible in his tactical plate-

carrier vest and of Taylor with a group of other rioters pushing through a line of law enforcement

officers trying to secure the inaugural stage on the West Terrace of the Capitol Building, within

the area that was not open to the public on January 6, 2021. Many of these images were circulated

via both mainstream news outlets and on social media platforms.

       Based on this information, the FBI began investigating Taylor’s role in the riot. On January

27, 2021, the FBI executed a search warrant at the homes of defendants Taylor and Hostetter.

After reviewing Taylor’s cell phone, investigating the leads identified in the phone, and by

examining other evidence, the FBI identified the DC Brigade Telegram chat that showed the

concerted action among Taylor and his co-conspirators, as well as additional evidence of crimes

by Taylor in connection with the Capitol riot.

       On June 9, 2021, a grand jury charged Taylor and five co-defendants in an eight-count

indictment for their crimes during the Capitol riot. Defendant Taylor was charged with six felony

violations, including 18 U.S.C. § 1512(k), Conspiracy to Obstruct Official Proceedings; 18 U.S.C.

§ 1512(c)(2) and § 2, Obstruction of an Official Proceeding and Aiding and Abetting; 18 U.S.C.

§ 231 and § 2, Obstruction of Law Enforcement During Civil Disorder and Aiding and Abetting;

18 U.S.C. § 1752(a)(1) and (b)(1)(A), Entering and Remaining in a Restricted Building and

Grounds and Carrying a Deadly or Dangerous Weapon; 18 U.S.C. § 1752(a)(2) and (b)(1)(A),

Entering and Remaining in a Restricted Building and Grounds and Carrying a Deadly or

Dangerous Weapon; and 40 U.S.C. § 5104(e)(1)(A), Unlawful Possession of a Dangerous Weapon

on Capitol Grounds and in Buildings. The most serious of these offenses include a maximum

penalty of 20 years’ incarceration. An arrest warrant was issued on the same date.
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           In the early morning hours of June 10, 2021, at his prior request, the government notified

Taylor’s defense counsel of the arrest warrant and directed defense counsel to tell his client to self-

surrender that morning. Taylor was taken into the FBI”s custody later that day. United States

Magistrate Judge Douglas F. McCormick conducted Taylor’s initial appearance and detention

hearing on June 11, 2021 and released Taylor over the government’s objection. 1 Upon the

government’s motion, Judge McCormick granted a stay of release until 5 p.m. PDT on June 15,

2021 to allow the government to appeal.

           Because the factors enumerated in the Bail Reform Act, 18 U.S.C. § 3142 strongly favor

pre-trial detention in this case, the government now moves the Court to revoke Judge McCormick’s

June 11, 2021 release order and detain the defendant pending trial.

    III.    LEGAL STANDARD

           The government submits this motion for revocation of Judge McCormick’s release order

pursuant to 18 U.S.C. § 3145(a)(1). The Court’s review should be de novo.

           “Although the D.C. Circuit has yet to opine on the question, substantial precedent supports

the view that a magistrate judge’s detention order is subject to de novo review by the district court.”

United States v. Cua, No. CR 21-107 (RDM), 2021 WL 918255, at *3 (D.D.C. Mar. 10, 2021)

(citation omitted). Indeed, the D.C. Circuit recently noted that Chief Judge Howell conducted a

de novo review of a release order under Section 3145(a), and that district courts have “broad

discretion” to review magistrate judges’ detention decisions. United States v. Munchel, 991 F.3d

1273, 1280 & n.3 (D.C. Cir. 2021) (citation omitted).



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 Judge McCormick’s Release Order required Taylor to meet a $50,000 bond, to relinquish his firearms, to
participate in a Location Monitoring Program, to stay within the Central District of California (except to travel to
D.C. for legal proceedings) absent prior approval from Pre-trial Services, to surrender his passport, and to avoid all
contact with known co-defendants outside the presence of counsel, among other conditions.
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       Upon holding a detention hearing, the Court “shall order” a defendant detained if it “finds

that no condition or combination of conditions will reasonably assure the appearance of the person

as required and the safety of any other person and the community.” 18 U.S.C. § 3142(e). Here,

there are no conditions that could assure the latter; in other words, releasing the defendant would

present a “danger to the community.” United States v. Vasquez-Benitez, 919 F.3d 546, 550 (D.C.

Cir. 2019).

       “When the Government proves by clear and convincing evidence that an arrestee presents

an identified and articulable threat to an individual or the community,” the Supreme Court has

explained, “a court may disable the arrestee from executing that threat.” United States v. Salerno,

481 U.S. 739, 751 (1987). Notably, “the threat need not be of physical violence, and may extend

to ‘non-physical harms such as corrupting a union.’” Munchel, 991 F.3d at 1283 (quoting United

States v. King, 849 F.2d 485, 487 n.2 (11th Cir. 1988)). “In assessing whether pretrial detention

is warranted for dangerousness, the district court considers four statutory factors: (1) ‘the nature

and circumstances of the offense charged,’ (2) ‘the weight of the evidence against the person,’ (3)

‘the history and characteristics of the person,’ and (4) ‘the nature and seriousness of the danger to

any person or the community that would be posed by the persons’ release.’” Id. at 1279 (quoting

18 U.S.C. § 3142(g)).

       At a detention hearing, the government may present evidence by way of a proffer. United

States v. Smith, 79 F.3d 1208, 1209-10 (D.C. Cir. 1996).

 IV.     ARGUMENT

        Here, the factors enumerated in 18 U.S.C. § 3142(g) strongly favor pre-trial detention.

 The Court should revoke the Magistrate’s release order and detain Taylor pending trial.


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        A.      The Nature and Circumstances of Taylor’s Crimes Support Detention

       Taylor’s crimes—conspiring to interfere with the Joint Session of Congress on January 6,

actually obstructing that proceeding, providing a communication platform for and actively

recruiting others to join the conspiracy, fighting with law enforcement officers who were trying to

prevent the rioters from advancing closer to the Capitol building, and carrying a knife onto Capitol

grounds—are uniquely dangerous. Pre-planned violence of the type fomented, organized, and

carried out by Taylor are the reason why a large vigilante mob of rioters gathered on January 6,

stormed the Capitol grounds and building, and delayed the Joint Session of Congress. Taylor’s

actions sought to undermine the peaceful transfer of power that is at the core of our democracy.

The seriousness of the crimes with which he is charged cannot be overstated.

       Finally, in considering the nature and circumstances of the offense, the Court should also

weigh the possible penalty Taylor faces upon conviction. See United States v. Townsend, 897 F.2d

989, 995 (9th Cir. 1990). Here, he has been indicted on six felony offenses, two of which include

a statutory maximum term of imprisonment of 20 years if convicted of these charges. This

substantial penalty incentivizes flight and evading law enforcement.

        B.      The Weight of the Evidence Favors Detention

       Second, the weight of the evidence against Taylor is substantial: electronic evidence found

on Taylor’s cell phone details the planning and coordination he undertook to bring a “group of

fighters” carrying “weaponry” and “plates” to Washington, D.C. for January 6; Telegram messages

show that he started that coordination no later than December 19, 2020 and, on December 29,

2020, that he made his intentions to breach the Capitol building clear (“I personally want to be on

the front steps and be one of the first ones to breach the doors!”); a video captures him across the

street from the U.S. Capitol on January 5 advocating for violence to overturn the election results;
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photographs and videos from January 6 capture him on the Lower West Terrace of the Capitol,

armed with a knife, fighting with law enforcement officers who were trying to prevent rioters from

advancing toward the Capitol building; and Telegram and text messages in which he admits to

storming the Capitol. This voluminous evidence supporting the charges against Taylor strongly

favors detention.

        C.      The History and Characteristics of the Defendant

       Third, Taylor’s history and characteristics animate the conclusions drawn from the facts

above. Taylor has no known criminal convictions. That said, he has exhibited and continues to

maintain an extremist anti-government ideology that this Court has no reason to believe will abate

if released.   Taylor is also known to possess numerous firearms and other weapons and

ammunition, is willing to incite and lead others, and harbors a belief that his actions on January 6

were wholly justified and mindset that, if anything, risks greater radicalization if released into a

community of like-minded individuals whom she has been known to primarily associate with and

that this Court cannot fashion a condition to prevent.

       Nothing in the record suggests that he has any remorse about the events of January 6 or has

disclaimed the beliefs and his actions on that day, and thus there is no evidentiary basis to assume

that defendant will refrain from similar activities in the future. In fact, on January 7, 2021, the

defendant showed continued resolve and urged others in the DC Brigade chat to “hold the f***ing

line,” and questioned whether they were “1776 Patriot[s] or Fox News patriot[s]”; challenging

their resolve, as seen in the post below.




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     D.      Taylor’s Release Would Be Dangerous to the Community

       Finally, it is difficult to fathom a more serious danger to the community—to the District of

Columbia, to the country, or to the fabric of American Democracy—than the one posed by

someone who organized “a group of fighters” who traveled cross-country with weapons to

participate in a riot at the United States Capitol. Every person who was present without authority

at the Capitol on January 6 contributed to the chaos of that day and the danger posed to law

enforcement, the United States Vice President, Members of Congress, and the peaceful transfer of

power. Taylor’s specific conduct aggravated the chaos and danger. As Taylor made clear in

statements before January 6, his actions were designed to interfere with the joint session of

Congress on January 6 (“I personally want to be on the front steps and be one of the first ones to

breach the doors!”), and to instigate fear in anyone who did not agree with his belief that the 2020

Presidential election was stolen (“we will not return to our peaceful way of life until this election

is made right, our freedoms are restored, and America is preserved”). And, significantly, the

defendant’s conduct on January 6 proved that he was, in fact, willing to resort to violence to act

on these beliefs.

       Moreover, the defendant has stated in his own words that he has no remorse for his actions,

and that he intends to continue this type of conduct. Hours after the riot, as the nation reeled from

the shocking attack on our democracy, Taylor continued to advance his view that anyone who

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disagreed with him is a “traitor” and crowed over his own role in the chaos, posting on Telegram:

“I was pushing through traitors all day today. WE STORMED THE CAPITOL! Freedom was

fully demonstrated today!” Then, in response to a text message from friend who asked him what

was next, Taylor responded, “Insurrection!” These statements, which Taylor made in private

forums that he never expected law enforcement would see, show his true beliefs and his intentions

for the future. In light of this, no combination of release conditions could reasonably assure the

safety of the community and Taylor’s compliance with the Court’s orders. Only detention

mitigates such grave dangers.

 V.     CONCLUSION

       For the foregoing reasons, the government requests that the Court revoke the Magistrate

 Judge’s Release Order and instead detain the defendant pending trial.


                                             Respectfully submitted,

                                             CHANNING D. PHILLIPS
                                             Acting United States Attorney
                                             DC Bar No. 415793


                                     By:     /s/ Risa Berkower
                                             RISA BERKOWER
                                             Assistant United States Attorney
                                             NY Bar No. 4536538
                                             U.S. Attorney’s Office
                                             555 Fourth Street, N.W.
                                             Washington, D.C. 20530
                                             (202) 803-1576
                                             Risa.berkower@usdoj.gov

                                             /s/ Katherine Nielsen
                                             KATHERINE NIELSEN
                                             Trial Attorney, Detailee
                                             D.C. Bar No. 491879
                                             U.S. Attorney’s Office
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                            555 Fourth Street, N.W.
                            Washington, D.C. 20530
                            (202) 355-5736
                            Katherine.nielsen@usdoj.gov




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